
711 S.E.2d 433 (2011)
Hilmar LEIBER,
v.
ARBORETUM JOINT VENTURE, LLC, AAC-Arboretum Joint Venture Consolidated Limited Partnership, AAC-Franklin Square Limited Partnership, Franklin III Limited Partnership, AAC-Franklin Development GP Limited Partnership, AAC-Franklin Development, Inc., Franklin Square IV, LLC, Southlake Limited Partnership, AAC Retail Property Development and Acquisition Fund, LLC, AAC Retail Fund Management, LLC, American Asset Corporation Companies, Ltd., AAC Investments, Inc., Gastonia Limited Partnership, Arbor Limited Partnership, Bank of America and Wachovia Bank.
No. 18P11.
Supreme Court of North Carolina.
July 7, 2011.
Kiran H. Mehta, Charlotte, for AAC Defendants.
Daniel Bishop, Charlotte, for Leiber, Hilmar.
Samuel T. Reaves, Charlotte, for AAC Defendants.
James W. Sheedy, Charlotte, for Bank of America.
Douglas M. Jarrell, Charlotte, for Wachovia Bank.

AMENDED ORDER
Upon consideration of the petition filed on the 12th of January 2011 by Defendants (AAC Defendants) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 7th of July 2011."
